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8                           UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )      2:02-cr-0418-GEB
                                             )
12                         Plaintiff,        )
                                             )      SENTENCING DECISION
13        v.                                 )      FOLLOWING REMAND
                                             )
14   FERNANDO LOPEZ-CUEVAS and ANTELMO       )
     ONTIVEROS,                              )
15                                           )
                           Defendants.       )
16                                           )
17
18             The Ninth Circuit remanded sentencing in this action for
19   further proceedings in light of United States v. Booker, 543 U.S. 220
20   (2005), and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005)
21   (en banc).   Ameline requires a district court on remand to consider
22   whether the sentence previously imposed “would have been materially
23   different had the district court known that the Guidelines were
24   advisory. . . .”    409 F.3d at 1084.       Following remand, an Order was
25   issued to the parties requesting their views on the remanded issues.
26             The government argues “nothing in the record indicates this
27   Court felt constrained by the then-mandatory nature of the sentencing
28   guidelines” and the record reveals that under “the advisory Sentencing

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1    Guidelines . . . [and] the factors provided in 18 U.S.C. § 3553(a)”
2    the Defendants’ sentences “would not be materially different . . . .”
3    (Govt’s Position Regarding Limited Remand Procedures Pursuant to
4    United States v. Ameline at 5, 6.)
5              Fernando Lopez-Cuevas’s response also cites section 3553,
6    and argues his deportable alien status and ineligibility for the
7    Bureau of Prisons drug treatment program should be considered.
8    (Lopez-Cuevas’ Resentencing Brief at 3.)        In addition, he argues his
9    deportable alien status “precludes [him] from various prison jobs” and
10   this can only be overcome if he is provided the opportunity to present
11   evidence that he has strong family/community ties in the United
12   States, that he has a history of domicile in this nation, and a
13   verified history of employment.      (Id. at 4.)    Further, Lopez-Cuevas
14   argues he was “merely a ‘mule’” in the offenses.         (Id. at 5.)
15             Antelmo Ontiveros also argues the sentencing factors favor
16   lowering his sentence, and that although this Court had “discretion to
17   find obstruction of justice following [his] testimony[,] . . . it
18   would be reasonable not to impose those two additional levels and
19   . . . [to] re-sentence [him] to 121 months . . . .”         (Ontiveros’
20   Resentencing Brief at 5-6.)
21   Defendant Lopez-Cuevas
22             Lopez-Cuevas has an offense level of 36, a criminal history
23   category of V, and an advisory guideline range of 292-365 months
24   imprisonment.
25             The reporter’s transcript of Lopez-Cuevas’s sentencing
26   hearing reveals he was “sentenced at the bottom of his guideline range
27   because he face[d] a very lengthy sentence, and . . . that imposition
28   of [this] sentence . . . [was] sufficient to comport with the

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1    sentencing factors . . . in [18 U.S.C. §] 3553.”         (Lopez-Cuevas’s RT
2    at 13.)
3              Lopez-Cuevas’s argument that seeks to minimize his role in
4    the offense is belied by the record.       He knowingly transported the
5    drugs that were involved in his convictions.        At his sentencing
6    hearing, Lopez-Cuevas made downward departure arguments based on his
7    deportable alien status which were denied, even though it was
8    recognized that discretion existed to vary from his guideline sentence
9    on these grounds.    His argument that his deportable alien status
10   precludes him from certain prison jobs is not within the scope of the
11   limited remand.
12             The section 3553 factors concerning the history and
13   circumstances of the offenses, promoting respect for the law,
14   affording adequate deference and protecting the public from further
15   crimes of the Defendant, reveal that the sentence imposed would not
16   have been materially different had the Court known at the time of
17   Lopez-Cuevas’s sentence that the guidelines were advisory.
18   Defendant Ontiveros
19             Ontiveros has a a total offense level of 36, a criminal
20   history category of I, and an advisory guideline range of 188 to 235
21   months imprisonment.    (Presentence Report at 11.)       Ontiveros brokered
22   the sale of the drugs that Lopez-Cuevas transported.          A search of the
23   transport vehicle revealed “approximately six pounds of
24   methamphetamine in a bag under the spare tire” cover.          (Id. at 4.)
25   “Six individual packages were wrapped in red plastic, and the total
26   weight of methamphetamine was . . . 2,809 grams.”         (Id.)
27             Ontiveros was an equal participant in the drug offenses of
28   conviction since “he arranged for the distribution and delivery of 2.8

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1    kilograms of methamphetamine.”      (Id. at 12.)
2               At Ontiveros’s sentencing hearing I stated: “A sentence at
3    the low end of the guideline range satisfies the sentencing factors a
4    judge is required to consider in [18 U.S.C. §] 3553.          The defendant
5    has no prior record, and the sentence he faces, unfortunately, is a
6    very lengthy sentence.”     (Ontiveros’s RT at 5.)      He was sentenced at
7    the bottom of his guideline range.
8               Considering “the nature and circumstances of the offense,”
9    the need for the sentence “to reflect the seriousness of the offense,
10   [and] to promote respect for the law,” the sentence imposed was not
11   materially different from the sentence that would have been given had
12   the Court known that the guidelines were advisory.         18 U.S.C.
13   § 3553(a).
14                                     CONCLUSION
15              For the stated reasons, each Defendant’s request for
16   resentencing is denied.
17              IT IS SO ORDERED.
18   Dated:   November 21, 2006
19
20                                    GARLAND E. BURRELL, JR.
21                                    United States District Judge

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